
Coleman brought debt against Verell in the county court. The defendant gave special bail, and pleaded payment. The plaintiff took issue. Then Verell removed the cause, by a writ of habeas corpus cum causa, into the district court; where the plaintiff declared anew, and obtained an office judgment: which, not being set aside at the succeeding term, he issued an execution; and thereupon Verell obtained a writ of supersedeas, to the judgment, from a judge of the court of appeals.
It was urged on behalf of the supersedeas, that, as there was an issue joined in the county court, the plaintiff in the action ought not to have declared anew in the district court, and taken judgment by default; but should have obtained a writ of certiorari to remove the proceedings into the district court in the same plight in which they stood in the county court.
To which it, was answered, that the plaintiff in the action might, or might not, according to his election, follow the course contended for; and that the course actually pursued was agreeable to the practice in England.

Per Cur.

Affirm the judgment.
